      Case 3:24-cv-00044-DPM Document 7 Filed 04/17/24 Page 1 of 1



           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    NORTHERN DIVISION

BOBBY CLEVELAND BENNETT                                     PLAINTIFF
#145200

V.                       No. 3:24-cv -44-DPM

BJ CARTER, Administrator, Poinsett
County Detention Center; REGINA
HINDMAN, Lt., Poinsett County
Detention Center; TABITHA SIMONS,
Sgt., Poinsett County Detention Center;
and AMANDA MCCORKLE, C.O.,
Poinsett County Detention Center                        DEFENDANTS
                                ORDER
     Unopposed recommendation, Doc. 3-TI, adopted. Fed. R. Civ. P.
72(b) (1983 addition to advisory committee notes). Bennett's complaint
will be dismissed for failure to state a claim. Strike recommended.
28 U.S.C. § 1915(g). Any informa pauperis appeal would not be taken in
good faith. 28 U.S.C. § 1915(a)(3).
     So Ordered.
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                                  D.P. Marshall Jr.
                                  United States District Judge
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